                                                                     Case 3:24-cv-00160-KC Document 6 Filed 05/31/24 Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            3:24-CV-00160-KC

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Amity One Debt Relief
 was recieved by me on 5/18/2024:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Paracorp Incorporated, who is designated by law to accept service of process on behalf of
          X
                                    Amity One Debt Relief at 2804 Gateway Oaks Dr Ste 100, Sacramento, CA 95833 on 05/21/2024 at 1:27 PM; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   05/21/2024
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 Jeremy Glaze
                                                                                                                                                 Printed name and title



                                                                                                            6804 Lonicera Dr
                                                                                                            Orangevale, CA 95662


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Chris Mays who identified themselves as the person authorized to accept with identity
           confirmed by subject stating their name. The individual accepted service with direct delivery. The individual appeared
           to be a brown-haired white male contact 25-35 years of age, 5'10"-6'0" tall and weighing 160-180 lbs.




                                                                                                                                                               Tracking #: 0133189018
